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  7
      Attorneys for Defendants MindGeek
  8   S.à r.l., MG Freesites Ltd, MindGeek
      USA Incorporated, MG Premium Ltd,
  9   MG Global Entertainment Inc., and 9219-
      1568 Quebec, Inc.
 10
 11                       UNITED STATES DISTRICT COURT
 12                      CENTRAL DISTRICT OF CALIFORNIA
 13   SERENA FLEITES,                            Case No. 2:21-cv-04920-WLH-ADS
 14                 Plaintiff,
                                                 JOINT STIPULATION RE
 15      v.                                      BRIEFING SCHEDULE FOR
                                                 DEFENDANTS’ MOTIONS TO
 16   MINDGEEK S.À R.L, et al.,                  DISMISS
 17                 Defendants.
                                                 Judge: Hon. Wesley L. Hsu
 18
 19                                              Complaint Filed: June 17, 2021
 20                                              Trial Date:        None Set
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  1            Defendants MindGeek S.à r.l., MG Freesites Ltd, MindGeek USA
  2   Incorporated, MG Premium Ltd, MG Global Entertainment Inc., 9219-1568
  3   Quebec, Inc., Visa Inc., Bernard Bergmair, Feras Antoon, and David Tassillo
  4   (collectively, “Defendants”) and Plaintiff Serena Fleites (“Plaintiff”) (collectively
  5   with Defendants, the “Parties”), by and through their counsel, hereby stipulate as
  6   follows:
  7            WHEREAS, on July 29, 2022, the Court granted Plaintiff leave to file a
  8   second amended complaint at the close of jurisdictional discovery (ECF No. 167 at
  9   8);
 10            WHEREAS, on June 16, 2023, jurisdictional discovery closed (ECF No. 344
 11   at 2);
 12            WHEREAS, on May 23, 2024, Plaintiff filed her second amended complaint
 13   (the “SAC”) (ECF No. 385);
 14            WHEREAS, the SAC includes 12 causes of action and approximately 600
 15   paragraphs of allegations across approximately 170 pages (ECF No. 385);
 16            WHEREAS, the deadline for each Defendant to answer, move, or otherwise
 17   respond to the SAC is on or about June 6, 2024 pursuant to Fed. R. Civ. Proc.
 18   15(a)(3);
 19            WHEREAS, the Parties agree that given the volume and complexity of the
 20   SAC, good cause exists for additional time to answer, move, or otherwise respond
 21   to the SAC and the subsequent briefing deadlines as follows:
 22         August 5, 2024:          Each Defendant’s Deadline to Answer, Move, or
 23                                  Otherwise Respond to the SAC;
 24         September 12, 2024:      Plaintiff’s Deadline to Respond to Each Defendant’s
 25                                  Answer, Motion, or Response (if and as applicable);
 26         October 3, 2024:         Each Defendant’s Deadline to File Replies (if and as
 27                                  applicable);
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  1         WHEREAS, the Parties agree that given the volume and complexity of the
  2   SAC, including that the SAC compromises 12 causes of action and approximately
  3   600 paragraphs of allegations across approximately 170 pages, following
  4   approximately one year of jurisdictional discovery, good cause exists to permit
  5   Defendants a modest increase in the number of pages for their motion(s), not to
  6   exceed a total of 40 pages; and
  7         WHEREAS, the Parties agree that Defendants preserve all objections and
  8   defenses to the SAC, including any objection or defense on the ground of lack of
  9   personal jurisdiction;
 10         IT IS THEREFORE STIPULATED AND AGREED that there is good cause
 11   for the Court to extend Defendants’ deadline to answer, move or otherwise respond
 12   to the SAC and therefore that, subject to the approval of this Court, the subsequent
 13   briefing deadlines shall be:
 14       August 5, 2024:              Each Defendant’s Deadline to Answer, Move, or
 15                                    Otherwise Respond to the SAC;
 16       September 12, 2024:          Plaintiff’s Deadline to Respond to Each Defendant’s
 17                                    Answer, Motion, or Response (if and as applicable);
 18       October 3, 2024:             Each Defendant’s Deadline to File Replies (if and as
 19                                    applicable);
 20         IT IS THEREFORE FURTHER STIPULATED AND AGREED that, subject
 21   to the approval of this Court, there is good cause to increase the page limit for each
 22   motion in response to the SAC to 40 pages or less.
 23         IT IS THEREFORE FURTHER STIPULATED AND AGREED that
 24   Defendants preserve all objections and defenses to the SAC, including all
 25   objections and defenses on the ground of lack of personal jurisdiction.
 26         Accordingly, the Parties respectfully request that this Court sign the
 27   [Proposed] Order setting forth this amended briefing schedule and page limit
 28   increases set forth above.
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  1         IT IS SO STIPULATED.
  2
  3   DATED: June 5, 2024              QUINN EMANUEL URQUHART &
                                       SULLIVAN, LLP
  4
                                       By         /s/ Diane Cafferata
  5
                                            Michael T. Zeller
  6                                         Michael E. Williams
  7                                         Diane Cafferata
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  8                                         Los Angeles, California 90017-2543
  9                                         Telephone: (213) 443-3000
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 10
 11                                         Attorneys for Defendants MindGeek
                                            S.à r.l., MG Freesites Ltd, MindGeek USA
 12                                         Incorporated, MG Premium Ltd, MG
 13                                         Global Entertainment Inc., and 9219-1568
                                            Quebec, Inc
 14
 15   DATED: June 5, 2024              BROWN RUDNICK LLP
 16
 17                                    By         /s/ Lauren Tabaksblat
 18                                         Michael J. Bowe
                                            Lauren Tabaksblat
 19                                         Attorneys for Plaintiff Serena Fleites
 20
 21
      DATED: June 5, 2024              WEIL, GOTSHAL & MANGES LLP
 22
 23
                                       By         /s/ Drew Tulumello
 24
                                            Drew Tulumello
 25                                         Attorneys for Defendant Visa Inc.
 26
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  1
      DATED: June 5, 2024              MORVILLO ABRAMOWITZ GRAND
  2                                    IASON & ANELLO PC
  3
  4                                    By         /s/ Jonathan S. Sack
  5                                         Jonathan S. Sack
                                            Attorneys for Defendant David Tassillo
  6
  7
  8   DATED: June 5, 2024              COHEN & GRESSER LLP
  9
 10                                    By         /s/ Matthew V. Povolny
 11                                         Matthew V. Povolny
                                            Attorneys for Defendant Feras Antoon
 12
 13
 14   DATED: June 6, 2024              WALDEN MACHT & HARAN LLP
 15
 16                                    By         /s/ Ronald G. White
 17                                         Ronald G. White
                                            Attorneys for Defendant Bernard Bergmair
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  1                             ATTESTATION STATEMENT
  2
            I, Diane Cafferata, the filer of this declaration, attest pursuant to Rule 5-
  3
      4.3.4(a)(2) of the Local Rules for the United States District Court for the Central
  4
      District of California that all other signatories listed, and on whose behalf the filing
  5
      is submitted, concur in the filing’s content and have authorized the filing.
  6
  7   Dated: June 6, 2024                     QUINN EMANUEL URQUHART
  8                                           & SULLIVAN LLP

  9                                                  /s/ Diane Cafferata
 10                                                  Diane Cafferata

 11                                                  Attorney for Defendants MindGeek
 12                                                  S.à r.l., MG Freesites Ltd, MindGeek
                                                     USA Incorporated, MG Premium Ltd,
 13                                                  MG Global Entertainment Inc., and
 14                                                  9219-1568 Quebec, Inc
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  1                           CERTIFICATE OF SERVICE
  2
            I, the undersigned counsel of record for Defendants MindGeek S.à r.l., MG
  3
      Freesites Ltd, MindGeek USA Incorporated, MG Premium Ltd, MG Global
  4
      Entertainment Inc., and 9219-1568 Quebec, Inc., certify that the foregoing
  5
      instrument was served pursuant to the Federal Rules of Civil Procedure on June 6,
  6
      2024 upon all counsel of record via ECF.
  7
  8   Dated: June 6, 2024                            QUINN EMANUEL URQUHART
  9                                                  & SULLIVAN LLP

 10                                                  /s/ Diane Cafferata
 11                                                  Diane Cafferata

 12                                                  Attorney for Defendants MindGeek
 13                                                  S.à r.l., MG Freesites Ltd, MindGeek
                                                     USA Incorporated, MG Premium Ltd,
 14                                                  MG Global Entertainment Inc., and
 15                                                  9219-1568 Quebec, Inc
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